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   EXHIBIT C
               Case 1:16-cv-10724-FDS Document 88-3 Filed 04/19/18 Page 2 of 6


Felicia S. Vasudevan

From:                        nadia valme <nvalme@msn.com>
Sent:                        Thursday, May 21, 2015 11:30 AM
To:                          Nadia Valme
Subject:                     FW: UPS Delivery Notification, Tracking Number 1Z8AS03W0198077675




From: nvalme@msn.com
To: nvalme@mhtl.com
Subject: FW: UPS Delivery Notification, Tracking Number 1Z8A503W0198077675
Date: Tue, 31 Mar 2015 10:15:25 -0400




From: auto-notify@ups.com
To: nvalme@msn.com
Subject: UPS Delivery Notification, Tracking Number 1Z8A503W0198077675
Date: Tue, 31 Mar 2015 08:57:52 -0400




           ***Do not reply to this e-mail. UPS and MURPHY, HESSE, TOOMEY & LEHANE
           will not receive your reply. At the request of MURPHY, HESSE, TOOMEY &
           LEHANE, this notice is to confirm that the following shipment has been
           delivered.
           Important Delivery Information

           Tracking Number:     1Z8A503W0198077675
           Delivery Date/ Time: 31-March-2015 / 8:53 AM



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 Delivery Location: FRONT DESK
 Signed by: BADO LATO

 Shipment Detail

 Ship To:
 Rosa I. Figueroa, Hearing Officer
 Bureau of Special Education Appeals
 1 CONGRESS ST
 BOSTON
 MA
 02114
 us
 Number of Packages:           1
 UPS Service:                  NEXT DAY AIR
 Weight:                       8.0 LBS
 Reference Number 1:           LINC04.00035




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Felicia S. Vasudevan

From:                                              UPS Quantum View <pkginfo@ups.com>
Sent:                                              Tuesday, March 31, 2015 10:28 AM
To:                                                Nadia Valme
Subject:                                           UPS Delivery Notification, Tracking Number 1Z8A503WNT98953688




             Your package has been delivered.

              Delivery Date:                Tuesday, 03/31/2015
              Delivery Time:                 10:22 AM
              Left At:          FRONT DOOR

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           ~




                                                            '


              Set Delivery Instructions                         Track Package Status            View Delivery Planner


             At the request of MURPHY, HESSE, TOOMEY & LEHANE, this notice is to confirm that following shipment
             has been delivered.

              Delivery Location:                                  FRONT DOOR


             Shipment Details
             Tracking Numbel'.:


              Delivery Location:
                                                                  ,~:: :::
                                                                  SUDBURY, MA 01776
                                                                  us
                                                                                   .
                                                                  1Z8A503WNT98953688




              UPS Service:                                        NEXT DAY AIR

              Reference Number 1:                                  LINC04.00035


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                             XPRESSMAN TRUCKING & COURIER, INC.
                                                                                                             129                       I
                             52 York Ave                                                                   rlfl'Vpji;Jt11N!J.m6
                             Randolph, MA 02368                                                              35584                     I
                             Phone: (781)-300-2030                                                         lltlVO,li:.!!>t~atl!:   ,
                             FAX: (781)-300-2037                                                            5/28/2017                  I

                                                            On Demand
Date Ready
Order Type                Order ID                                                                        References
Deliver Date              Caller          Origin                            Destination                   Billing Group
5/26/2017 1 :00 PM        260696         Attorney General                   Murphy Hesse Toomey & Lehan, LINC04-00035
RU- Rush                                 1 Ashburton Pl                     300 Crown Colony Dr
5/26/2017 2:20 PM          Nadia         Boston MA 02108                    Quincy MA 02169-0904
                                                                        RU - Rush                $21.45
                                                                   FS-Fuel Charges                $3.86

 POD:      Kelly Enos                                                 Order Total:            $25.31

                                                                  On Demand Totals:                     $271.14


                                                                     Customer Total:                    $271.14




                                                                                            Page    2                  of      2
